,   .   "



                           IN THE UNITED STATES DISTRICT COURT




            UNITED STATES OF AMERICA

                            V.                               1:2oclH1 -1

            ROOB KAURATAR-SINGH

                                     The Grand Jury charges that:

                                              COUNT ONE

                  On or about March 15, 2016, in the County of Hoke, in the Middle

            District of North Carolina, ROOB KAUR ATAR-SINGH, an alien, did

            knowingly make a false statement and claim that she was a citizen of the

            United States in order to register to vote and to vote in any Federal, State, and

            local election; in violation of Title 18, United States Code, Section 1015(f).

                                             COUNT TWO

                  On or about March 15, 2016, in the County of Hoke, in the Middle

            District of North Carolina, ROOB KAUR ATAR-SINGH did falsely and

            willfully represent that she was a citizen of the United States; in violation of

            Title 18, United States Code, Section 911.

                                            COUNT THREE

                  On or about November 8, 2016, in the County of Hoke, in the Middle

            District of North Carolina, ROOB KAUR ATAR-SINGH, an alien, cast a vote




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in an election held for the purpose of electing a candidate for the office of

President, Vice President, Member of the United States Senate, and Member

of the House of Representatives; in violation of Title 18, United States Code,

Section 6ll(a).

                                          DATED: August 31, 2020

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                                          BY: MATTHEW G.T. MARTIN
                                          United States Attorney




FOREPERSON




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